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                                                                                                        FILED
                                                                                                       Jun 10 2024
               1       Name: Fernando Gastelum                                                     CLERK, U.S. DISTRICT COURT
                                                                                                SOUTHERN DISTRICT OF CALIFORNIA

                       Address: 209 W. 9th Street, Casa Grande, AZ 85122                       BY           s/ STN         DEPUTY

               2       Telephone Number: Number: 520-560-0927
               3       Email: fernandog8899@gmail.com

               4                               UNITED STATES DISTRICT COURT
               5                             SOUTHERN DISTRICT OF CALIFORNIA

               6                                                        Case No.: '24CV1018 WQHDDL
               7        FERNANDO GASTELUM,
                                                                              VERIFIED COMPLAINT FOR:
               8                              Plaintiff,
                                                                            1. Violation of the ADA
               9        vs.

              10        NORDSTROM, INC.                                     2. Violation of Unruh Civil Rights Act

              11                               Defendant.                   3. Violation Of The Disabled Persons
                                                                               Act
              12
              13                                                            4. Malice and Oppression

              14                                                       I.
              15                                                 PARTIES

              16       A. Plaintiff.
              17       1. Plaintiff is a senior citizen with physical disabilities.
              18       2. Plaintiff is missing a leg.

              19       3. Plaintiff is an ADA Tester.

              20       4. Plaintiff lives in Casa Grande, Arizona, with his extended family:

              21
              22
              23
              24
              25
              26
·-.....___

              27
                   ,
                )



                                                                       I
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  1   5. Since 2015, Plaintiff has been using a wheelchair for mobility in locations that are
  2      designed for wheelchair use:
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
      6. Plaintiffs missing leg is a physical impairment that substantially limits one or more
 17
         major life activities like walking, reaching, pushing and other musculoskeletal
 18
         activities that are normally associated with missing lower limbs.
 19
      B. Defendant Nordstrom Is The "Public Accommodation" Against Whom
 20      Remedies Are Sought
 21   7. Nordstrom is a public accommodation that owns and/or operates 363± places of
 22      public accommodation doing business as Nordstrom, Nordstrom Rack and others,
 23      many of which are located in California.
 24   C. Nordstrom and Nordstrom Rack are "Places of Public accommodation" Owned
         and Operated by Nordstrom Inc.
 25
 26   8. Nordstrom Stores referenced in Table 1 below are places of public accommodation,

 27      not public accommodations themselves; therefore, the remedies sought are not

 28

                                                    2
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  1      limited to the Stores as places of public accommodation, but are directed to
  2      Nordstrom as the public accommodation.
  3                               II
       FEDERAL QUESTION, SUPPLEMENTAL AND DIVERSITY JURISDICTION
  4
  5   9. The Court has subject matter jurisdiction over the action pursuant to 28 U.S.C. §
         1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with Disabilities Act
  6
         of 1990, 42 U.S.C. § 12101, et seq.
  7
      10. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is founded on the
  8
         fact that the real property which is the subject of this action is located in this district
  9
         and that Plaintiffs cause of action arose in this district.
 10
      11. The Court has discretionary supplemental jurisdiction over allegations of Unruh Civil
 11
         Rights Act claim relative to architectural barriers, but, to the best of Plaintiffs
 12      understanding, the Court has supplemental jurisdiction over non-architectural Unruh
 13      policy violations.
 14   12. This Court also has diversity jurisdiction pursuant to 28 U.S.C. §§ 1332 based on:
 15         A. Plaintiff is a citizen of the state of Arizona; and
 16         B. Defendant is a citizen of the State of Washington; and
 17         C. The amount in controversy, including (1) cost of compliance with injunctive
 18             relief, (2) statutory damages, and (3) attorney's fees, all of which, to the best

 19             of Plaintiffs estimate, greatly exceed the statutory threshold of$75,000.00.

 20
      13. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is founded on the
         fact that the real property which is the subject of this action is located in this district
 21
         and that Plaintiffs cause of action arose in this district.
 22
 23                                  III
 24             FACTUAL ALLEGATIONS APPLICABLE TO ALL COUNTS

 25   14. Plaintiff has visited and shopped at numerous Nordstrom Stores in the past.
 26   15. On the dates specified in Table 1 below, Plintiffvisited and conducted business at the
 27      following Nordstrom places of public accommodation:

 28

                                                     3
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  1          NAME                                LOCATION                          DATE(S)
                                  6997 Friars Rd.
  2      Nordstrom on Friars
                                  San Diego, CA 92108                                4/22/24
  3      Nordstrom Rack on        173 South Las Posas Rd
         Las Posas                San Marcos, CA 92069                               4/22/24
  4      Nordstrom Rack on        1640 Camino Del Rio North
  5      Camino de! Rio           San Diego, CA 92108                                4/22/24
         Nordstrom Rack on        8875 Villa La Jolla Dr.
  6      Villa La Jolla           La Jolla, CA 92037                                 4/22/24
  7      Nordstrom Rack on        11940 Carmel Mtn Rd. Ste 100
         Cannel                   San Diego, CA 92128                                4/22/24
  8      Nordstrom Rack on        3010 Plaza Bonita Rd.
         Plaza Bonita             National Citv, CA 91950                            4/23/24
  9
                                                Table 1
 10   16. Plaintiff visited each store and conducted business there on or about the date in
 11      Column 3. The individual stores are hereafter referred by the name in column 1 with
 12      the address disclosed in column 2 and the date(s) ofvisit(s) in column 3.
 13   17.At each location, Plaintiff used his wheelchair for mobility.
 14   A. Plaintiff was denied full and equal enjoyment at Nordstrom on Friars
 15   18. Plaintiff conducted business at Nordstrom on Friars on April 22, 2024.

 16   19. During his visit, Plaintiff encountered the following barriers to accessibility that

 17      denied him full and equal access:

 18          A. Clear width of accessible routes was less than 36" between displays of
                merchandise. This condition made it more difficult for Plaintiff to maneuver
 19
                his wheelchair between displays of merchandise. This condition violates
 20
                accessibility standards at 403.5.1.
 21
             B. There were numerous protruding objects that reduced the clear width of
 22
                accessible routes between rows of merchandising displays. This condition
 23
                made it more difficult for Plaintiff to maneuver his wheelchair between
 24
                displays of merchandise. This condition violates accessibility standards at
 25             307.5.
 26          C. The restroom door required the push-pull force greater than 5 lbs. This
 27             condition made it more difficult for Plaintiff to open the door from his
 28

                                                      4
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  1              wheelchair sitting position. This condition violates accessibility standards at
  2              309.4.2.
  3          D. The fitting room bench did not provide a back support and it was not fixed to

  4              the wall. This condition makes the use of the fitting room bench more difficult

  5              to Plaintiff. This condition violates accessibility standards at 903 .3 (size) and
                 903.4 (back support).
  6
      B. Plaintiff was denied full and equal enjoyment at Nordstrom Rack on Las Posas
  7
  8   20. Plaintiff conducted business at Nordstrom Rack on Las Posas on April 22, 2024.
      21. During his visit, Plaintiff encountered the following barriers to accessibility that
  9
         denied him full and equal access:
 10
             A. Clear width of accessible routes was less than 36" between displays of
 11
                 merchandise. This condition made it more difficult for Plaintiff to maneuver
 12
                 his wheelchair between displays of merchandise. This condition violates
 13
                 accessibility standards at 403.5.1.
 14
             B. There were numerous protruding objects that reduced the clear width of
 15              accessible routes between rows of merchandising displays. This condition
 16              made it more difficult for Plaintiff to maneuver his wheelchair between
 17              displays of merchandise. This condition violates accessibility standards at
 18              307.5.
 19          C. The restroom door required the push-pull force greater than 5 lbs. This
 20              condition made it more difficult for Plaintiff to open the door from his

 21              wheelchair sitting position. This condition violates accessibility standards at

 22              309.4.2.
             D. There are exposed pipes under the sink in the bathroom. This condition makes
 23
                 it more difficult for Plaintiff to use the sink without touching the surface of the
 24
                 pipes. This condition violates accessibility standards at 606.5.
 25
      C. Plaintiff was denied full and equal enjoyment at Nordstrom Rack on Camino del
 26      Rio
 27
      22. Plaintiff conducted business at Nordstrom Rack on Camino de! Rio on April 22,
 28
         2024.

                                                       5
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  1   23. During his visit, Plaintiff encountered the following barriers to accessibility that
  2      denied him full and equal access:
  3          A. Clear width of accessible routes was less than 36" between displays of

  4              merchandise. This condition made it more difficult for Plaintiff to maneuver

  5             his wheelchair between displays of merchandise. This condition violates
                 accessibility standards at 403.5.1.
  6
             B. There were numerous protruding objects that reduced the clear width of
  7
                 accessible routes between rows of merchandising displays. This condition
  8
                 made it more difficult for Plaintiff to maneuver his wheelchair between
  9
                 displays of merchandise. This condition violates accessibility standards at
 10
                 307.5.
 11
             C. The restroom door required the push-pull force greater than 5 lbs. This
 12              condition made it more difficult for Plaintiff to open the door from his
 13              wheelchair sitting position. This condition violates accessibility standards at
 14              309.4.2.
 15   D. Plaintiff was denied full and equal enjoyment at Nordstrom Rack on Villa La
         Jolla
 16
 17   24. Plaintiff conducted business at Nordstrom Rack on Villa la Jolla on April 22, 2024.

 18   25. During his visit, Plaintiff encountered the following barriers to accessibility that

 19      denied him full and equal access:
             A. Clear width of accessible routes was less than 36" between displays of
 20
                 merchandise. This condition made it more difficult for Plaintiff to maneuver
 21
                 his wheelchair between displays of merchandise. This condition violates
 22
                 accessibility standards at 403.5.1.
 23
             B. There were numerous protruding objects that reduced the clear width of
 24
                 accessible routes between rows of merchandising displays. This condition
 25
                 made it more difficult for Plaintiff to maneuver his wheelchair between
 26              displays of merchandise. This condition violates accessibility standards at
 27              307.5.
 28

                                                       6
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  1          C. The restroom door required the push-pull force greater than 5 lbs. This
  2             condition made it more difficult for Plaintiff to open the door from his

  3             wheelchair sitting position. This condition violates accessibility standards at

  4             309.4.2.

  5
      E. Plaintiff was denied full and equal enjoyment at Nordstrom Rack on Carmel

  6   26. Plaintiff conducted business at Nordstrom Rack on Carmel on April 22, 2024.
  7   27. During his visit, Plaintiff encountered the following barriers to accessibility that

  8      denied him full and equal access:

  9          A. Clear width of accessible routes was less than 36" between displays of
                merchandise. This condition made it more difficult for Plaintiff to maneuver
 10
                his wheelchair between displays of merchandise. This condition violates
 11
                accessibility standards at 403.5.1.
 12
             B. There were numerous protruding objects that reduced the clear width of
 13
                 accessible routes between rows of merchandising displays. This condition
 14
                made it more difficult for Plaintiff to maneuver his wheelchair between
 15
                 displays of merchandise. This condition violates accessibility standards at
 16
                 307.5.
 17          C. The restroom door required the push-pull force greater than 5 lbs. This
 18              condition made it more difficult for Plaintiff to open the door from his
 19              wheelchair sitting position. This condition violates accessibility standards at
 20              309.4.2.
 21   F. Plaintiff was denied full and equal enjoyment at Nordstrom Rack on Plaza
         Bonita on April 23, 2024
 22
 23   28. Plaintiff conducted business at Nordstrom Rack on Plaza Bonita on April 23, 2024.

 24   29. During his visit, Plaintiff encountered the following barriers to accessibility that
         denied him full and equal access:
 25
             A. Clear width of accessible routes was less than 36" between displays of
 26
                 merchandise. This condition made it more difficult for Plaintiff to maneuver
 27
                 his wheelchair between displays of merchandise. This condition violates
 28
                 accessibility standards at 403.5.1.
                                                       7
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  1          B. There were numerous protruding objects that reduced the clear width of
  2                 accessible routes between rows of merchandising displays. This condition
  3                 made it more difficult for Plaintiff to maneuver his wheelchair between

  4                 displays of merchandise. This condition violates accessibility standards at

  5                 307.5.
                 C. The restroom door required the push-pull force greater than 5 lbs. This
  6
                    condition made it more difficult for Plaintiff to open the door from his
  7
                    wheelchair sitting position. This condition violates accessibility standards at
  8
                    309.4.2.
  9
      30. Remediation of barriers listed above is readily achievable.
 10
      31. Plaintiff has specific intent to return to each of the Stores referenced in Table 1 above
 11
         once he has determined that the Stores are ADA and Unruh compliant.
 12   32. Plaintiff is otherwise deterred from conducting business at Nordstrom Stores in Table
 13      1, or any other store owned or operated by Nordstrom because Nordstrom, as the
 14      public accommodation, has failed to comply with the non-discriminatory provisions
 15      oftheADA.
 16                                             IV CLAIMS
 17                                 Count One - Violations Of The ADA
 18                                     i. U.S.C. § 12101, et seq.)

 19   33. Plaintiffrealleges all allegations elsewhere in this Verified Complaint.
 20   34. Each store visited where Plaintiff conducted business displayed Nordstrom's failure

 21      to abide by the primary anti-discrimination directive of 42 U.S.C. § 12182 in the

 22      following non-exclusive particulars:
            1.      Nordstrom is utilizing standards, criteria or methods of administration that
 23
                    have the effect of discriminating on the basis of Plaintiffs disabilities; and
 24
           11.      Nordstrom's failed to make reasonable modifications in policies, practices, or
 25
                    procedures, when such modifications are necessary to afford goods, services,
 26
                    facilities, privileges, advantages, or accommodations to individuals with
 27
                    disabilities; and
 28

                                                       8
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  1       111.     Nordstrom failed to remove architectural barriers where such removal was
  2                readily achievable.
  3   35. Nordstrom employs a discriminatory policy and/or practice of positioning its

  4      merchandise in a manner that prevents Plaintiff access to such merchandise.

  5   36. Nordstrom discriminated against Plaintiff on the basis of his disability by failing to
         make reasonable modifications that were necessary to acconunodate Plaintiffs
  6
         disability.
  7
      37.Plaintiffis continuously attempting to find a Nordstrom Rack stores that would grant
  8
         him full and equal enjoyment of the shopping experience, but has not found one so far.
  9
      38.Based on the fact that Plaintiff has visited numerous stores referenced in Table 1, and
 10
         was denied full and equal access at each of them by their narrowing of spaces between
 11
         rows and clutters of merchandise, he has reasonable grounds to believe that he is about
 12      to be subjected to discrimination in violation of the ADA at any Nordstrom Rack store.
 13   39. Plaintiff is not required to engage in a futile gesture of visiting each and every
 14      Nordstrom Rack store to experience discrimination because he has actual notice that
 15      Nordstrom has no intention of complying with the ADA.
 16   40. Plaintiff is deterred from visiting any Nordstrom store.
 17      WHEREFORE, Plaintiff requests relief as follows:

 18              A. Declaration that at the commencement of this action Nordstrom was in

 19                 violation of the specific disability laws detailed above; and

 20              B. Order Nordstrom to:

 21                 1.    Cease and desist from utilizing standards, criteria or methods of

 22                       administration that have the effect of discriminating on the basis of

 23                       Plaintiffs disabilities; and
                    11.   Make reasonable modifications in policies, practices, or procedures, when
 24
                          such modifications are necessary to afford goods, services, facilities,
 25
                          privileges, advantages, or accommodations to Plaintiff; and
 26
                    iii. Remove architectural barriers at all its stores where such removal was
 27
                          readily achievable.
 28

                                                         9
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   1          C. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and
   2          D. The provision of whatever other relief the Court deems just, equitable and
   3                appropriate.
   4                     Count Two - Violation Of The Unruh Civil Rights Act
                                      (Cal. Civ. Code§ 51-53.)
   5
   6   41. Plaintiff realleges all allegations elsewhere in this Complaint.

   7   42. The Unruh Civil Rights Act ("Unruh Act") guarantees, inter alia, that persons with
          disabilities are entitled to full and equal accommodations, advantages, facilities,
   8
          privileges, or services in all business establishment of every kind whatsoever within
   9
          the jurisdiction of the State of California. Cal. Civ. Code §5 l(b). Unruh Act also
  10
          provides that a violation of the ADA is a violation of the Unruh Act. Cal. Civ. Code,
  11
          § 51(f).
  12
       43. Nordstrom violated the Unruh Act by denying Plaintiffs rights to full and equal
  13
          access.
  14   44. Defendant's violation of the Unruh Act makes it responsible for statutory civil
  15      penalty. (Civ. Code§ 55.56(a)-(c).)
  16      WHEREFORE, Plaintiff requests relief as follows:
  17          A. Declaration that at the commencement of this action Nordstrom was in
  18                violation of the specific requirements of disability laws detailed above; and
  19          B. Order that Nordstrom remediate each and every inaccessible element, policy
  20                and procedure in the stores that are subject of this Verified Complaint; and
  21          C. For damages in an amount no less than $4,000.00 per Unruh violation per
  22                encounter as alleged above; and
  23          D. For treble damages pursuant to Cal. Civ. Code §3345(b); and
  24          E. For punitive damages as more fully alleged below; and
  25          F. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and
  26          G. The provision of whatever other relief the Court deems just, equitable and
  27                appropriate.
  28
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   1                   Count Three - Violation Of The Disabled Persons Act
                                   (Cal. Civ. Code §§54-54.3)
   2
   3   45.Plaintiffrealleges all allegations elsewhere in this Complaint

   4   46. Nordstrom violated the DPA by denying Plaintiff equal access to its public

   5      accommodation on the basis of his age and disability as outlined above.

   6   47. The DPA provides for monetary relief to "aggrieved persons" who suffer from

   7      discrimination on the basis of their disability.

   8   48. Plaintiff has been aggrieved by Nordstrom's non-compliance with accessibility laws.

   9   49. Pursuant to the DP A, Plaintiff is further entitled to such other relief as the Court

  10      considers appropriate, including monetary damages in an amount to be proven at trial,

  11      but in no event less than $1,000.00. Cal. Civ. Code§ 54.3.

  12   SO.Pursuant to the DPA, Plaintiff is entitled to costs in an amount to be proven at trial.

  13      Cal. Civ. Code§ 54.3.

  14      WHEREFORE, Plaintiff demands judgment against Defendant as follows:

  15          A. Declaratory Judgment that at the commencement of this action Nordstrom was

  16             in violation of the specific requirements of the DPA; and

  17          B. For damages in an amount no less than $1,000.00 per violation per encounter;

  18             and

  19          C. For costs and expenses and lawyer's fees should Plaintiff hire a lawyer; and

  20          D. For punitive damages as alleged below; and

  21          E. The provision of whatever other relief the Court deems just, equitable and

  22             appropriate.

  23                                     V
                NORDSTROM'S MALICE AND OPPRESSION OF PLAINTIFF
  24                 SUPPLEMENTING ALL STATE LAW CLAIMS
                             (Civ. Code Article 3, §3294)
  25
  26   51. Plaintiff realleges all allegations elsewhere in this Verified Complaint.

  27   52.Nordstrom intentionally narrows the accessible routes between displays of

  28      merchandise to maximize the selling space and increase profits.


                                                     11
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   1   53. By its continuing and unrelenting discrimination against people with disabilities,
   2      including Plaintiff, Nordstrom is and has been guilty of oppression and malice.
   3   54. Nordstrom's malice and oppression of people with disabilities are intentional,

   4      premeditated, and specifically designed as a marketing strategy.

   5   55. "Malice" includes "despicable conduct which is carried on by the defendant with a
          willful and conscious disregard of the rights or safety of others", including Plaintiff.
   6
       56. "Oppression" means despicable conduct that subjects a person to cruel and unjust
   7
          hardship in conscious disregard of that person's rights.
   8
       57. "Despicable conduct" has been described as conduct that is "so vile, base,
   9
          contemptible, miserable, wretched or loathsome that it would be looked down upon
  10
          and despised by ordinary decent people." (Lackner v. North (2006) 135 Cal.App.4th
  11
          1188, 1210.)
  12   58.Plaintiffalleges that intentional segregation and discrimination of the type alleged
  13      here, and indeed any segregation and discrimination against any member of a
  14      protective class, is malicious and oppressive as a matter oflaw.
  15   59. In addition to the actual damages, Plaintiff seeks the following relief:
  16      A. Imposition of damages for the sake of example and by way of punishing
  17          Nordstrom in an amount sufficient to deter, make example of, and punish

  18          Nordstrom in the form of punitive damages; and

  19      B. Disgorgement of ill-gotten profits realized through intentional discrimination.
                                  REQUEST FOR TRIAL BY JURY
  20
              Plaintiff requests a trial by a jury on issues triable by a jury.
  21
                                            VERIFICATION
  22
              Plaintiff verifies under the penalty of perjury that the above statements of fact are
  23
       true and correct to the best of his knowledge, information, memory or belief.
  24
              RESPECTFULLY SUBMITTED this 7TH day of June, 2024
  25                                          ~/2> t-'e               -..;;;- -
  26                                        Fernando Gastelum
                                            Pro Se
  27
  28

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